                           UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF PENNSYLVANIA




  WALGREEN CO., SAFEWAY INC.,
                                                       Civil Action No. _________________
  SUPERVALU INC., HEB GROCERY
  COMPANY L.P. and AMERICAN SALES
  COMPANY, LLC,                                        JURY TRIAL DEMANDED

                            Plaintiffs,

   vs.

   ABBVIE, INC., ABBOTT
   LABORATORIES, UNIMED
   PHARMACEUTICALS, LLC and BESINS
   HEALTHCARE, INC.,

                            Defendants.



                      COMPLAINT AND DEMAND FOR JURY TRIAL

         Plaintiffs Walgreen Co., Safeway Inc., Supervalu Inc., HEB Grocery Company L.P. and

American Sales Company, LLC bring this civil action against Defendants AbbVie, Inc., Abbott

Laboratories, Unimed Pharmaceuticals, LLC (collectively “AbbVie”) and Besins Healthcare,

Inc. (“Besins”) under the antitrust laws of the United States. For their Complaint, Plaintiffs

allege as follows:

                                    I.      INTRODUCTION

         1.     This is a civil antitrust action seeking treble damages and other relief arising out

of Defendants’ unlawful monopolization of a relevant market consisting of topical testosterone

replacement therapies or transdermal testosterone replacement therapies (“TTRTs”) through the

filing and maintenance of sham patent litigation against putative generic competitors Teva
Pharmaceuticals USA, Inc. (“Teva”) and Perrigo Company (“Perrigo”). The filing and

maintenance of that sham litigation delayed Perrigo’s launch of a lower-priced generic version of

AndroGel 1%, AbbVie’s blockbuster testosterone replacement product. But for AbbVie’s sham

patent litigation, Perrigo would have launched its generic version of AndroGel in June 2013

rather than on December 27, 2014, when Perrigo actually launched.

        2.      As a result of Defendants’ unlawful monopolization, Plaintiffs and/or their

assignors paid hundreds of millions of dollars more during the relevant time period to acquire

branded AndroGel 1% formulation of testosterone than they would have paid to acquire Perrigo’s

generic version of the drug. Plaintiffs bring this action in order to recover those overcharges and

for additional relief.

                                         II.     PARTIES

        3.      Plaintiff Walgreen Co. (“Walgreen”) is an Illinois corporation having its principal

place of business at 200 Wilmot Road, Deerfield, Illinois 60015. Walgreen owns and operates

retail stores in several states at which it dispenses prescription drugs, including AndroGel, to the

public. Walgreen brings this action in its own behalf and as the assignee of Cardinal Health, Inc.

(“Cardinal Health”) and AmerisourceBergen Drug Corporation, both pharmaceutical

wholesalers, which during the relevant period purchased AndroGel directly from Defendants for

resale to Walgreen and which have assigned their claims arising out of those purchases to

Walgreen.

        4.      Plaintiff Safeway, Inc. (“Safeway”) is a Delaware corporation having its principal

place of business at 5918 Stoneridge Mall Road, Pleasanton, California 94588. Safeway owns

and operates retail stores in several states at which it dispenses prescription drugs, including

AndroGel, to the public. Safeway brings this action in its own behalf and as the assignee of

Cardinal Health and McKesson Corporation (“McKesson”), another pharmaceutical wholesaler,


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which during the relevant period purchased AndroGel directly from Defendants for resale to

Safeway and which have assigned their claims arising out of those purchases to Safeway.

       5.      Plaintiff Supervalu Inc. (“Supervalu”) is a Delaware corporation having its

principal place of business at 11840 Valley View Road, Eden Prairie, Minnesota 55344.

Supervalu owns and operates retail stores in several states at which it dispenses prescription

drugs, including AndroGel, to the public. Supervalu brings this action in its own behalf and as

the assignee of McKesson, which during the relevant period purchased AndroGel directly from

Defendants for resale to Supervalu and which has assigned its claims arising out of those

purchases to Supervalu.

       6.      Plaintiff American Sales Company, LLC (“ASC”) is a Delaware limited liability

company having its principal place of business at 4201 Walden Avenue, Lancaster, New York

14086. ASC purchases pharmaceutical and other products and distributes those products to retail

stores owned and operated by affiliated companies. ASC brings this action in its own behalf and

as the assignee of Cardinal and McKesson, which during the relevant period purchased AndroGel

directly from Defendants for resale to ASC and which has assigned its claims arising out of those

purchases to ASC.

       7.      Plaintiff HEB Grocery Company, LP (“HEB”) is a Texas limited liability

partnership having its principal place of business at 646 South Main Avenue, San Antonio, Texas

78204. HEB owns and operates retail stores in several states at which it dispenses prescription

drugs to the public, including AndroGel. HEB brings this action in its own behalf and as the

assignee of Cardinal and McKeson, which during the relevant period purchased AndroGel

directly from Defendants for resale to HEB and which has assigned its claims arising out of those

purchases to HEB.




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       8.      Defendant AbbVie, Inc. is a Delaware corporation having its principal place of

business at One North Waukegan Road, North Chicago, Illinois 60064. AbbVie, Inc. develops,

manufactures and markets prescription pharmaceutical products in the United States, including

AndroGel.

       9.      Defendant Abbott Laboratories (“Abbott”) is an Illinois corporation having its

principal place of business at 100 Abbott Park Road, Abbott Park, Illinois 60064. Abbott

develops, manufactures and markets a variety of healthcare and pharmaceutical products in the

United States. On January 1, 2013, Abbott completed the spinoff of AbbVie, Inc., a corporation

formed to hold Abbott’s branded pharmaceutical business, including the marketing and sale of

AndroGel. Prior to January 1, 2013, Abbott marketed AndroGel in the United States, either

directly or through subsidiaries and affiliates.

       10.     Defendant Unimed Pharmaceuticals, LLC (“Unimed”) is a wholly owned

subsidiary of AbbVie with its principal place of business at 901 Sawyer Road, Marietta, Georgia

30062. Solvay Pharmaceuticals, Inc. (“Solvay”) acquired Unimed in 1999, and Abbott acquired

Solvay in 2010. Unimed developed and marketed AndroGel in the United States.

       11.     Defendant Besins Healthcare, Inc. n/k/a Ascend Therapeutics Inc. (“Besins”) is a

Delaware corporation with its principal place of business at 607 Herndon Parkway, Suite 210,

Herndon, Virginia 20170. Besins manufactures AndroGel for AbbVie under a license agreement.

Besins’ employees, along with employees of Unimed, filed the patent application that led to

issuance of U.S. Patent No. 6,503,894 (“the ‘894 patent”).

       12.     All of Defendants’ actions described in this Complaint were carried out by

Defendants’ various officers, agents, employees, or other representatives within the course and

scope of their duties and employment by Defendants, and/or with the actual, apparent, and/or

ostensible authority of Defendants.


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                             III.    JURISDICTION AND VENUE

       13.     This action arises under section 2 of the Sherman Act, 15 U.S.C. § 2, and sections

4 and 16 of the Clayton Act, 15 U.S.C. §§ 15(a) and 26, to recover treble damages, permanent

injunctive relief, costs of suit and reasonable attorneys’ fees for the actual and threatened injuries

sustained by Plaintiffs resulting from Defendants’ unlawful monopolization of the TTRT market.

The Court has subject matter jurisdiction under 28 U.S.C. §§ 1331 and 1337(a).

       14.     Defendants transact business within this district and/or have an agent and/or can

be found in this district. Venue is appropriate within this district under section 12 of the Clayton

Act, 15 U.S.C. § 22, and 28 U.S.C. §1391(b) and (c).

                            IV.     REGULATORY BACKGROUND

       15.     Under the Federal Food, Drug, and Cosmetic Act (“FDCA”), manufacturers that

create a new drug must obtain FDA approval to sell the product by filing a New Drug

Application (“NDA”). 21 U.S.C. §§ 301-392. An NDA must include specific data concerning

the safety and effectiveness of the drug, as well as any information on applicable patents. 21

U.S.C. § 355(a), (b).

       16.     When the FDA approves a brand manufacturer’s NDA, the drug product is listed

in an FDA publication titled Approved Drug Products with Therapeutic Equivalence Evaluations,

commonly known as the “Orange Book.” The manufacturer may list in the Orange Book any

patents that the manufacturer believes could reasonably be asserted against a generic

manufacturer that makes, uses, or sells a generic version of the brand drug before the expiration

of the listed patents. The manufacturer may subsequently list in the Orange Book within thirty

days of issuance any such patents issued after the FDA approves the NDA. 21 U.S.C. §§

355(b)(1) & (c)(2).




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       17.     The FDA relies completely on the brand manufacturer’s truthfulness about patent

validity and applicability, as it does not have the resources or authority to verify the

manufacturer’s patents for accuracy or trustworthiness. In listing patents in the Orange Book,

the FDA merely performs a ministerial act.

       18.     The Hatch-Waxman Amendments (also simply “Hatch-Waxman”), enacted in

1984, simplified the regulatory hurdles for prospective generic manufacturers by eliminating the

need for them to file lengthy and costly New Drug Applications (“NDAs”). See Drug Price

Competition and Patent Term Restoration Act of 1984, Pub. L. No. 98-417, 98 Stat. 1585, as

amended (1984). A manufacturer seeking approval to sell a generic version of a brand drug may

instead file an Abbreviated New Drug Application (“ANDA”). An ANDA relies on the scientific

findings of safety and effectiveness included in the brand manufacturer’s original NDA, and

must further show that the generic drug contains the same active ingredient(s), dosage form,

route of administration, and strength as the brand drug and is absorbed at the same rate and to the

same extent as the brand drug—that is, that the generic drug is pharmaceutically equivalent and

bioequivalent (together, “therapeutically equivalent”) to the brand drug.

       19.     Bioequivalence exists when the active ingredient of the proposed generic drug

would be present in the blood of a patient to the same extent and for the same amount of time as

the active ingredient in its branded counterpart. 21 U.S.C. § 355(j)(8)(B).

       20.     Congress enacted the Hatch-Waxman Amendments to expedite the entry of

legitimate (non-infringing) generic competitors, thereby reducing healthcare expenses

nationwide. Congress also sought to protect pharmaceutical manufacturers’ incentives to create

new and innovative products.

       21.     The Hatch-Waxman Amendments achieved both goals, advancing substantially

the rate of generic product launches, and ushering in an era of historically high profit margins for


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brand manufacturers. In 1983, before the Hatch-Waxman Amendments, only 35% of the top-

selling drugs with expired patents had generic alternatives; by 1998, nearly all did. In 1984,

prescription drug revenue for branded and generic drugs totaled $21.6 billion; by 2009 total

prescription drug revenue had increased many-fold to $300 billion.

       22.     To obtain FDA approval of an ANDA, a manufacturer must certify that the

generic drug will not infringe any patents listed in the Orange Book. Under the Hatch-Waxman

Amendments, a generic manufacturer’s ANDA must contain one of four certifications:

       i.      that no patent for the brand drug has been filed with the FDA (a “Paragraph I
               certification”);
       ii.     that the patent for the brand drug has expired (a “Paragraph II certification”);
       iii.    that the patent for the brand drug will expire on a particular date and the
               manufacturer does not seek to market its generic product before that date (a
               “Paragraph III certification”); or
       iv.     that the patent for the brand drug is invalid or will not be infringed by the generic
               manufacturer’s proposed product (a “Paragraph IV certification”).

       23.     If a generic manufacturer files a Paragraph IV certification, a brand manufacturer

can delay FDA approval of the ANDA simply by suing the ANDA applicant for patent

infringement. If the brand manufacturer initiates a patent infringement action against the generic

filer within forty-five days of receiving notification of the Paragraph IV certification (“Paragraph

IV Litigation”), the FDA will not grant final approval to the ANDA until the earlier of: (a) the

passage of 30 months, or (b) the issuance of a decision by a court that the patent is invalid or not

infringed by the generic manufacturer’s ANDA. Until one of those conditions occurs, the FDA

may grant “tentative approval,” but cannot authorize the generic manufacturer to market its

product. This stay of FDA approval is sometimes referred to as the automatic “30-month stay.”

       24.     The 30-month stay is triggered simply by the filing of a patent infringement

action in response to a paragraph IV certification by the generic applicant, without regard to the

merit or lack of merit of the lawsuit. Thus, brand manufacturers have a powerful economic


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incentive to file such actions even if they have no expectation of prevailing, because simply

filing the action will delay generic competition by as much as 2 ½ years.

       25.     As an alternative to filing an ANDA, a generic applicant may file a special kind of

NDA under 21 U.S.C. § 505(b)(2), which is a hybrid between an ANDA and a full NDA. A

generic submitted for approval under section 505(b)(2) may differ slightly from the brand-name

drug. See 21 C.F.R. § 314.54. The applicant may rely on the FDA’s finding of safety and

efficacy for a reference listed drug to the extent that the proposed product shares characteristics

of the reference listed drug, but must submit additional data to the FDA demonstrating that any

differences between the brand-name drug and the generic will not affect safety or efficacy.

       26.     Once the FDA approves a generic drug, the applicant may request from the FDA a

therapeutic equivalence (“TE”) rating. A TE rating is a code that reflects the FDA’s

determination whether a generic product is pharmaceutically and biologically equivalent to the

reference-listed branded drug. Oral dosage products that are determined to be therapeutically

equivalent to the reference-listed drug are assigned an “AB” rating. Generic products for which

therapeutic equivalence cannot be determined are assigned a “B” or “BX” rating. An “AB”

rating is extremely desirable for generic manufacturers. Generic substitution laws in all 50 states

either permit or require pharmacists to dispense AB-rated generic drugs unless the physician has

expressly directed the pharmacist to dispense the equivalent branded drug instead.

       27.     Generic versions of brand name drugs contain the same active ingredient, and are

determined by the FDA to be just as safe and effective, as their brand name counterparts. The

only material difference between generic and brand name drugs is their price. The launch of a

generic drug thus usually brings huge cost savings for all drug purchasers. The Federal Trade

Commission (“FTC”) estimates that, by one year after market entry, the generic version takes

over 90% of the brand’s unit sales and sells for 15% of the price of the brand name product. In


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retail pharmacy chains, such as Plaintiffs, a generic typically achieves at least an 80%

substitution rate within 90 days. As a result, brand name companies, such as AbbVie, view

competition from generic drugs as a grave threat to their bottom lines.

       28.     Due to the price differentials between brand and generic drugs, and other

institutional features of the pharmaceutical industry, including state generic substitution laws,

pharmacists liberally and substantially substitute for the generic version when presented with a

prescription for the brand-name counterpart. Since passage of the Hatch-Waxman Amendments,

every state has adopted substitution laws that either require or permit pharmacies to substitute

generic equivalents for branded prescriptions (unless the prescribing physician has specifically

ordered otherwise by writing “dispense as written” or similar language on the prescription).

       29.     There is an incentive to choose the less expensive generic equivalent at every link

in the prescription drug chain. Pharmaceutical wholesalers and retailers pay lower prices to

purchase generic drugs than to purchase the corresponding brand-name drug. Health insurers

and patients also benefit from the lower prices of generic products.

       30.     Until a generic version of the brand drug enters the market, there is no

bioequivalent generic drug to substitute for, and to compete with, the branded drug, and therefore

the brand manufacturer can continue to profitably charge very high prices (relative to cost)

without losing sales. As a result, brand manufacturers, who are well aware of generics’ rapid

erosion of their brand sales, have a strong incentive to delay the introduction of generic

competition into the market.

                                  V.      OPERATIVE FACTS

       A.      AndroGel

       31.     AndroGel is a brand-name transdermal testosterone gel product approved by the

FDA for the treatment of hypogonadism, a clinical syndrome that results from failure of a man’s


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body to produce adequate amounts of testosterone. It is estimated that this condition affects 2-

6% of the adult male population in the United States. Hypogonadism is a lifelong condition that

causes decreases in energy and libido, erectile dysfunction, and changes in body composition

including decreased bone density. Patients with hypogonadism are typically treated with

testosterone replacement therapy (“TRT”), in which exogenous testosterone is administered.

       32.     The first TRTs approved by the FDA were injectables consisting of testosterone

dissolved in a liquid and then injected into a muscle of the body. Injectable testosterones were

introduced in the 1950s and have been available in generic form for decades. They are

administered every one to three weeks. While many patients receive injections at their doctors’

office, some patients opt to self-administer injections at home or visit clinics specializing in TRT

commonly known as “Low-T” centers. Because they are available in generic form, injectables

generally require a five to ten dollar patient copay on most insurance plans and thus are the least

expensive treatment method for hypogonadism.

       33.     Testosterone injections typically require two needles: a withdrawal needle and an

injection needle. The withdrawal needle is typically a 20-gauge wide bore and 1-inch long needle

required to withdraw the testosterone from the glass vial. After withdrawal, the needle must be

switched to a 21- or 22-gauge narrow bore and 1.5-inch long needle to administer the injection.

This needle must then be inserted deep into a muscle, typically the buttocks or thigh, until the

needle is no longer visible. Because a deep intramuscular injection is required, this treatment

method may cause pain and discomfort which will vary from patient to patient. Injectables

generally provide an initial peak in testosterone level at the time of injection followed by troughs

or valleys as the injection wears off. This variation in testosterone level may cause swings in

mood, libido, and energy.




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       34.     TRTs may also be administered through a gel or patch applied to the skin and

thereby absorbed into the bloodstream. This group of products is known as topical testosterone

replacement therapies or transdermal testosterone replacement therapies (“TTRTs”). Androderm,

the first testosterone patch, was released in the 1990s. It is applied once a day to the back,

abdomen, thighs, or upper arms. The patch formulation delivers a steady level of testosterone

without the peaks or valleys associated with injectables. It is relatively easy to apply, although the

patch may cause skin irritation in some patients and may be visible depending on where it is

applied. Testoderm, a testosterone patch worn on the scrotum, was also introduced in the 1990s.

       35.     AndroGel was launched in 2000 as the first FDA-approved testosterone gel. It is

applied once a day to one or more application sites, including the upper arms, shoulders, and

abdomen. AndroGel comes in two strengths: (1) 1%, which was the original formulation

launched in June 2000; and (2) 1.62%, which was first sold in May 2011. At the time AndroGel

1% came on the market in 2000, it was available only in individual dose packets. In 2004, it

became available in a metered-dose pump. AbbVie discontinued manufacture of the AndroGel 1%

pump in December 2013.

       36.     AndroGel 1% was developed through a collaboration between Unimed and various

subsidiaries of Besins’ parent company. At the time of its launch, AndroGel 1% was marketed

and distributed by Solvay, the parent company of Unimed. Abbott Laboratories acquired Solvay

and Unimed in February 2010. At that time, Solvay was renamed Abbott Products Inc. In

January 2013, Abbott completed the spinoff of AbbVie, a corporation formed to hold all of

Abbott’s proprietary pharmaceutical business, including AndroGel 1%.

       37.     As the first testosterone gel on the market, AndroGel achieved great commercial

success and quickly became one of Solvay’s “flagship” products. In 2009, AndroGel’s U.S. net

sales were approximately $604 million, and in 2010, that number grew to $726 million. After


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AbbVie acquired Solvay and Unimed in 2010, sales of AndroGel continued to grow, and

AndroGel became one of AbbVie’s blockbuster drugs. In 2011, U.S. net sales for AndroGel

reached $874 billion, and, in 2012, U.S. net sales surpassed $1.15 billion. In 2013, AndroGel’s

U.S. net sales were approximately $1.035 billion, and in 2014, net sales totaled $934 million.

After entry of generic versions of AndroGel 1%, AndroGel U.S. net sales fell to $694 million in

2015. Throughout this time, AbbVie maintained a high profit margin of approximately 65% on

AndroGel.

           38.   Transdermal gels have several advantages over other forms of TRTs. A gel is

relatively easy for a patient to apply without the potential for pain or discomfort associated with

an injection. It also allows the patient to maintain a steady testosterone level without peaks and

troughs. As compared to the patch form of testosterone, it has a lower rate of irritation and is not

visible.

           39.   Gels such as AndroGel, however, are not without some drawbacks. There is a

serious but rare risk of secondary exposure associated with gels. Such exposure may occur when

testosterone is transferred from a patient to others, including women and children, through skin-

to-skin contact. Precautions such as washing hands after application and covering the application

site with a t-shirt can prevent such exposure. Gels may also cause skin irritation in some patients.

Finally, some patients may dislike having to apply the gel daily.

           40.   After AndroGel was released in 2000, several other brand-name TTRTs were

launched by competing pharmaceutical companies. Testim, a 1% gel available in a five gram

tube, was approved in 2002. In 2011, two brand-name testosterone 2% gels were brought to

market: (1) Fortesta, a metered-dose pump product applied to the thighs; and (2) Axiron, a

solution that is dispensed from a metered-dose pump and applied to the underarms using a silicon




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applicator. In 2014, Vogelxo, another brand-name low-volume testosterone gel, was launched

along with an authorized generic version of the same product.

       41.     In addition to injectables and TTRTs, several other forms of TRTs have been

approved by the FDA. Striant, a buccal testosterone tablet applied twice daily to the gums, was

released in 2003. Testopel, a pellet that is surgically inserted in the hip, buttocks, or thigh every

three to six months, was approved in 2008. And in 2014, the FDA approved Natesto, a nasal

testosterone spray administered three times a day.

       42.     AndroGel 1% is protected by the ‘894 patent. That patent is owned by Besins

and by Unimed, which as discussed above, was a wholly-owned subsidiary of Solvay until 2010.

Laboratoires Besins Iscovesco SA, a subsidiary ultimately owned by Besins’ parent company

and now known as Laboratoires Besins Iscovesco SAS (“LBI SAS”), licensed to Unimed certain

intellectual property rights to AndroGel. In return, Unimed was obligated to pay a royalty on net

sales of AndroGel. Under a separate supply agreement, LBI SAS agreed to manufacture and to

sell to Unimed AndroGel products for sale and distribution by Unimed in the United States.1

       B.      The ‘894 Patent Litigation

       43.     The initial patent application that resulted in the ‘894 patent claimed a

pharmaceutical composition of a testosterone gel including a penetration enhancer, which

according to the patent application “is an agent known to accelerate the delivery of the drug

through the skin into the bloodstream.” The patent application claimed all penetration enhancers

including isopropyl myristate, the penetration enhancer actually used in AndroGel. The patent

examiner at the U.S. Patent and Trademark Office (“PTO”) rejected the claim to all penetration

enhancers. Thereafter, Unimed and Besins submitted an amendment narrowing their claim so as


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        AbbVie and Besins later amended the license and supply agreements to include AndroGel
1.62%. Royalties on U.S. sales of AndroGel 1.62% are paid to LBI SAS or Besins Healthcare
Luxembourg SARL (“BHL SARL”).

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to name only twenty-four specific penetration enhancers, including isopropyl myristate. After a

series of additional amendments, Unimed and Besins further narrowed their claim to a single

penetration enhancer, isopropyl myristate. On this basis, the ‘894 patent was issued on January

7, 2003. It is scheduled to expire on January 6, 2020.

       44.    As is often the case with successful pharmaceutical products, generic

manufacturers sought to enter the market to compete with AndroGel. In December 2008,

Perrigo submitted two ANDAs to the FDA for a generic testosterone 1% gel in both pump and

packet form. The ANDAs referenced AndroGel and the ‘894 patent. However, the Perrigo

product contained isostearic acid as its penetration enhancer rather than AndroGel’s isopropyl

myristate, the sole enhancer claimed in the ‘894 patent.

       45. Pursuant to the procedures established by the Hatch-Waxman Act, Perrigo in June

2009 served paragraph IV notices on both Unimed and Besins as co-owners of the ‘894 patent.

In those notices, Perrigo disclosed the filing of its ANDAs for a generic 1% testosterone gel.

Perrigo further asserted that its ANDAs would not infringe the ‘894 patent for AndroGel

because the Perrigo products did not contain “about 0.1% to about 5% isopropyl myristate,” the

sole penetration enhancer formulation claimed in the patent. Perrigo also stated in its notices

that the prosecution history of the ‘894 patent would estop Unimed and Besins from filing a

patent infringement claim. Finally, Perrigo offered to provide to outside counsel representing

Unimed and Besins confidential access to its full ANDAs for generic AndroGel.

       46.     Thereafter Unimed and Besins, along with Unimed’s parent Solvay, jointly

retained the law firm of Finnegan, Henderson, Farabow, Garrett & Dunner, LLP (“Finnegan,

Henderson”) to assess the Perrigo paragraph IV notices and the Perrigo ANDAs. Finnegan,

Henderson obtained confidential access to the full ANDAs and confirmed that Perrigo’s ANDAs

specified isostearic acid as a penetration enhancer, not isopropyl myristate. Besins also


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separately retained the law firm of Foley & Lardner LLP (“Foley & Lardner”). Outside counsel

at Foley & Lardner did not receive confidential access to the ANDAs.

       47.     On July 17, 2009, Solvay and Unimed issued a press release announcing that

“[a]fter careful evaluation” the companies had decided not to file a patent infringement suit

against Perrigo. The press release explained that the Perrigo product “contains a different

formulation than the formulation protected by the AndroGel patent.” It further stated that “[t]his

distinction played a role in the company’s decision not to file patent infringement litigation at this

time,” but “the company does not waive its right to initiate patent infringement litigation at a later

stage based on new or additional facts and circumstances.” The ultimate decision not to file suit

was made by Solvay in-house attorneys Shannon Klinger, Peter Edwards, and Dominique

Dussard. Besins also determined that it was “standing down” from bringing an infringement suit

but did not join in the Solvay press release or issue its own public announcement.

       48.     Sometime in 2009, the FDA became aware of cases of accidental secondary

exposure of children to TTRTs due to skin-to-skin transference from patients using these

products. Based on this information, the FDA required safety-related labeling changes and a

Risk Evaluation and Mitigation Strategy (“REMS”) for transdermal testosterone gel products

currently on the market. Thereafter, Auxilium Pharmaceuticals, Inc., the manufacturer of

Testim, submitted a citizen petition to the FDA regarding a generic version of Testim. To

facilitate the drug approval process, the FDA permits private entities to provide comments and

opinions by filing citizen petitions. 21 C.F.R. § 10.30. A petition can request that the FDA

“issue, amend, or revoke a regulation or order or take or refrain from taking any other form of

administrative action.” Id.

       49.     On August 26, 2009, in response to the Auxilium citizen petition, the FDA directed

that any application for a generic testosterone gel product containing a penetration enhancer


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different from the penetration enhancer in the referenced brand-name drug would be required to

be submitted as a section 505(b)(2) NDA rather than an ANDA. The FDA also required the

application to include certain additional safety studies regarding the risk of secondary exposure.

       50.     On April 9, 2010, AbbVie, now the owner of AndroGel, filed its own citizen

petition with the FDA seeking assurance that Perrigo would be required to resubmit its 2009

ANDAs for generic AndroGel as section 505(b)(2) NDAs. In that petition, AbbVie noted the

FDA’s ruling in response to the Auxilium citizen petition regarding all generic testosterone

products containing penetration enhancers different from those contained in the reference-listed

brand-name drug. AbbVie also requested that Perrigo be directed to provide to the AndroGel

patent holders a new paragraph IV notice. Finally, it asked that Perrigo be required to conduct

transfer and hand-washing studies as set forth in the FDA’s response to the Auxilium petition.

       51.     On October 4, 2010, the FDA granted in part and denied in part AbbVie’s citizen

petition. The FDA directed that any application by a generic manufacturer for a product

referencing AndroGel containing a different penetration enhancer be submitted as a section

505(b)(2) NDA. The FDA also agreed that the applicants would be required to submit new

paragraph IV notices.

       52.     On January 13, 2011, Teva filed a section 505(b)(2) NDA for its generic version of

AndroGel 1% which described a different penetration enhancer, isopropyl palmitate, from the

enhancer AbbVie used in its brand-name AndroGel. The application sought approval to

manufacture and to distribute the product in two different packet sizes as well as in a pump form.

This application superseded an ANDA for generic testosterone that Teva had filed on December

29, 2008, prior to the FDA’s ruling on the Auxilium citizen petition.

         53.   On March 16, 2011, Teva sent to Solvay, AbbVie, Unimed, and Besins a

 paragraph IV notice regarding its section 505(b)(2) NDA. Teva asserted that its product did not


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 infringe the ‘894 patent because “the Teva formulation does not contain isopropyl myristate,”

 the only penetration enhancer claimed in the ‘894 patent. Teva laid out the prosecution history

 of the ‘894 patent and its position that, because the claims of the ‘894 patent were narrowed to

 disclose only isopropyl myristate, “the prosecution history estops the patentees from asserting

 infringement under the doctrine of equivalents.” Teva also offered confidential access to

 certain information regarding its section 505(b)(2) NDA to allow the patent holders to assess

 whether an infringement action would have merit.

           54.   AbbVie retained outside counsel at the law firm of Munger, Tolles & Olson

 LLP (“Munger Tolles”) to evaluate the Teva paragraph IV notice. Counsel at Munger

 Tolles was provided with access to the Teva section 505(b)(2) NDA and provided in-house

 counsel at AbbVie with its opinion. Besins again retained Foley & Lardner to evaluate the

 notice. Foley & Lardner had confidential access to the NDA and submitted its analysis to

 Besins.

           55.   On April 29, 2011, within 45 days after receiving the paragraph IV notice,

 AbbVie, Unimed, and Besins commenced an action in the U.S. District Court for the

 District of Delaware alleging that Teva’s product infringed the ‘894 patent. See Abbott

 Prods., Inc. v. Teva Pharm. USA, Inc., No. 11-384 (D. Del. Apr. 29, 2011). The suit against

 Teva triggered the Hatch-Waxman automatic stay of FDA approval of the Teva product.

 Consequently, the FDA could not approve Teva’s generic testosterone drug for 30 months

 after March 16, 2011 or until September 17, 2013, unless the district court resolved the

 lawsuit sooner.

       56.       The intellectual property (“IP”) litigation group at AbbVie had direct

accountability for patent litigation. Four in-house patent attorneys in that group had final

responsibility for evaluating the Teva paragraph IV notice and made the decision to file the patent


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infringement suit against Teva: (1) Johanna Corbin; (2) Adam Chiss; (3) Anat Hakim; and (4) Jose

Rivera. All of these attorneys had extensive experience in patent law and with AbbVie. Corbin

has worked in the AbbVie IP group since 2005 and is currently its vice president and the lead IP

attorney. Chiss was divisional vice president of IP litigation and before that had served as senior

counsel in IP litigation. Anat Hakim was divisional vice president and associate general counsel

of IP litigation at AbbVie and previously had been a partner at Foley & Lardner. Finally, Rivera

was a divisional vice president of the IP group and had previously worked in private practice. The

general counsel of AbbVie, Laura Schumacher, also signed off on the final decision. Schumacher

has been with AbbVie since 2005. No business persons at AbbVie were involved in the decision

to sue. At trial, AbbVie presented evidence that the decision whether to file a complaint is always

made solely by the legal department and does not require approval from management.

       57.     As for Besins, the decision to sue was made by Thomas MacAllister, its in-house

counsel. MacAllister is an experienced intellectual property attorney who previously worked as a

patent examiner at the U.S. Patent and Trademark Office. Besins conferred with outside counsel

as well as AbbVie about the Teva product and potential litigation. Like AbbVie, Besins or its

agents had confidential access to the portions of Teva’s NDA that disclosed the formulation of its

product prior to filing the complaint against Teva. In addition, in-house counsel for Besins

conferred with in-house counsel for AbbVie before making the decision to initiate the lawsuit.

       58.     Around this time, AbbVie also was preparing for FDA approval and launch of its

low-volume formulation of AndroGel, known as AndroGel 1.62%. The FDA issued final

approval of brand-name AndroGel 1.62% on April 29, 2011, and AbbVie began selling it in May

2011. The 1.62% formulation is indicated for the same condition and has the same active

ingredient as the original formulation of AndroGel, but allows patients to get the same therapeutic

effect using less total gel. Sales of AndroGel 1.62% grew more slowly after launch in 2011 than


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Defendants initially anticipated, but by June 2012, AndroGel 1.62% constituted the majority of

total AndroGel sales. AndroGel 1.62% accounted for total AndroGel sales as follows: 57% during

the last 7 months of 2012, 67% in 2013, 76% in 2014, and 83% in 2015.

       59.     In June 2011, Teva submitted a case status report proposing a schedule for early

summary judgment proceedings in the patent infringement suit in the District of Delaware.

AbbVie, Unimed, and Besins filed a supplemental case status report opposing any summary

judgment proceedings. On August 1, 2011, before discovery had commenced, Teva filed a

motion for summary judgment. Teva asserted that based on prosecution history estoppel there

could be no viable claim of infringement of the ‘894 patent. On October 25, 2011, the court set

trial on the issue of prosecution history estoppel for May 21, 2012.

       60.     On August 18, 2011, AbbVie filed a citizen petition with the FDA requesting that it

refrain from granting a therapeutic equivalence rating to section 505(b)(2) products referencing

AndroGel, including Teva’s testosterone product, or in the alternative, requesting that it assign the

product a BX rating. If a BX rating were assigned, there could be no automatic substitution at the

pharmacy under state generic substitution laws.

       61.     Meanwhile, on July 4, 2011, Perrigo re-filed its application for generic testosterone

1% gel as a section 505(b)(2) NDA. On September 20, 2011, Perrigo sent AbbVie, Unimed, and

Besins a new paragraph IV notice. As in its 2009 notice, Perrigo certified that the ‘894 patent

was not infringed because its generic testosterone product did not contain “about 0.1% to 0.5%

isopropyl myristate,” the penetration enhancer claimed in the patent.

       62.     Perrigo’s letter also explained that the prosecution history of the ‘894 patent

precluded any valid infringement claim. Perrigo stated that “a lawsuit asserting the ‘894 patent

against Perrigo would be objectively baseless and a sham, brought in bad faith for the improper

purpose of, inter alia, delaying Perrigo’s NDA approval.” It further asserted that “a bad faith


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motive for bringing such a suit would be particularly apparent in light of representations and

admissions made, inter alia, in [Solvay’s] Friday, July 17, 2009 press release.” Perrigo offered

confidential access to certain information regarding its NDA. Again, AbbVie and Unimed

retained Munger Tolles as outside counsel to analyze whether Perrigo’s proposed product

infringed the ‘894 patent. Foley & Lardner evaluated Perrigo’s NDA on behalf of Besins and also

issued its opinion to Besins.

        63.     On October 31, 2011, AbbVie, Unimed, and Besins filed suit in the District of

New Jersey alleging that Perrigo’s 1% testosterone gel infringed the ‘894 patent. See Abbott

Prods., Inc. v. Perrigo Co., 11-6357 (D.N.J. Oct. 31, 2011). As in the Teva litigation, the filing of

the complaint against Perrigo triggered an automatic 30-month stay under the Hatch-Waxman

Act. Thus, absent a court ruling or settlement resolving the litigation, the stay would preclude

final FDA approval of the Perrigo generic testosterone product until March 20, 2014.

        64.     The same four AbbVie in-house attorneys as had made the decision to sue Teva

again made the decision to file the suit against Perrigo with approval from the same general

counsel. They conferred with outside counsel, who had confidential access to the Perrigo section

505(b)(2) NDA. No AbbVie business person was involved in the decision to file the Perrigo

action. After consultation with AbbVie and outside counsel, Besins’ same in-house attorney made

the decision that it would join in bringing the Perrigo litigation.

         65.    AbbVie reached out to Teva to discuss an amicable resolution of the dispute

 before AbbVie filed its complaint in April 2011. Perry Siatis, an in-house attorney for

 AbbVie, was AbbVie’s main negotiator. At that time, Siatis was Divisional Vice President of

 the IP strategy group and head intellectual property attorney at AbbVie. Although that initial

 contact did not lead to a settlement, AbbVie again raised the subject with Teva during an in-

 person meeting on October 28, 2011, three days after the court in the Teva litigation had set a


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 trial date. On December 20, 2011, the parties reached a final settlement in the Teva litigation,

 in which Teva received a license to launch its generic AndroGel product beginning December

 27, 2014.

       66.     While the Teva negotiations were ongoing, settlement negotiations were taking

place in the Perrigo litigation. Sometime on or before November 3, 2011, Siatis approached

Perrigo to initiate settlement negotiations. On December 8, 2011, the parties executed a binding

term sheet, which included the dismissal of all claims and counterclaims with prejudice. In

addition, AbbVie agreed to pay Perrigo $2 million dollars as reasonable litigation expenses.

       67.     During the negotiations Perrigo pushed for an earlier entry date but ultimately

accepted an entry date of January 1, 2015. However, the settlement contained an acceleration

clause whereby Perrigo would be permitted to launch earlier if another generic came to market.

As a result of the Teva settlement, Perrigo’s licensed entry date was moved up to December 27,

2014 under the acceleration clause.

       68.     On February 14, 2012, the FDA approved Teva’s section 505(b)(2) NDA for the

packet presentation of its TTRT product. During review of the application, the FDA identified a

potential safety concern with the packaging used in the pump presentation of the drug. In

response to this concern, Teva withdrew the pump presentation from its application. As a result,

the FDA approved Teva’s product in packet form only.

       69.     After receiving FDA approval, Teva waited for the FDA Office of Generic Drugs

to assign a TE rating for its product. On December 21, 2012, AbbVie filed a citizen petition

supplement requesting that the FDA refrain from granting a TE rating to Teva’s product or, in the

alternative, grant Teva’s product a BX rating.

       70.      Later, on January 31, 2013, the FDA approved Perrigo’s section 505(b)(2) NDA

for its generic version of AndroGel 1%. Thereafter the FDA considered a TE rating for Perrigo’s


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generic product. During this period, AbbVie filed an additional citizen petition on December 11,

2013. The December 11, 2013 citizen petition supplemented the August 18, 2011 citizen

petition and requested that the FDA issue a BX rating for Perrigo’s product.

       71.     In the months leading up to its December 27, 2014 licensed entry date, Perrigo

took a number of steps to follow up with the FDA regarding its TE rating. Perrigo sent three

letters to the FDA. It received no response other than being informed that the FDA needed more

time to evaluate the therapeutic equivalence of the product.

       72.     Perrigo filed a lawsuit against the FDA in the United States District Court for the

District of Columbia on March 21, 2014. See Perrigo Israel Pharm. Ltd. v. U.S. Food & Drug

Admin., No. 14-475 (D.D.C. Mar. 21, 2014). Perrigo asserted that the FDA had engaged in

unreasonable delay. It requested that the court enter a mandatory injunction compelling the FDA

to publish a TE rating for Perrigo’s NDA product as soon as possible. On April 10, 2014, the FDA

filed its first response to the lawsuit. The FDA contended that “Perrigo has itself obviated the

need for a prompt decision by reaching an agreement with the innovator not to market until

December 2014.” The FDA further represented that it expected to issue a TE rating for Perrigo’s

product “by July 31, 2014—some five months before Perrigo’s planned product launch.”

       73.     On July 23, 2014, the FDA determined that Perrigo’s section 505(b)(2) NDA

product was therapeutically equivalent to AndroGel and issued it an AB rating.2 That same day,

however, the FDA assigned a BX rating to Teva’s product. Specifically, the FDA concluded that

the data submitted by Teva was “insufficient to determine TE [therapeutic equivalence] to

AndroGel 1%.” As a result, under all state laws the Perrigo generic testosterone product would be




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          Perrigo voluntarily dismissed the lawsuit on July 24, 2014, one day after the FDA issued
its TE rating to Perrigo.

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auto-substitutable at the pharmacy for brand-name AndroGel 1% prescriptions, but the Teva

product would not.

       74.     Perrigo launched its AB-rated generic version of AndroGel 1% on December 27,

2014, its licensed entry date under the settlement agreement with defendants. Perrigo achieved its

goal to obtain an AB rating for its product and would have challenged the FDA had it received

only a BX rating.

       75.     But for Defendants’ patent litigation against Perrigo and the resulting 30-month

stay and eventual settlement, Perrigo would have received its AB rating in June 2013 rather than

July 2014 and would have launched its AB-rated product at that time. Plaintiffs and other

purchasers would have received the benefits of a lower-priced generic AndroGel 1% product in

June 2013 rather than December 27, 2014.

       C.      Objective and Subjective Baselessness

       76.     The patent litigation brought against both Teva and Perrigo was objectively

baseless. As noted above, neither the Teva product nor the Perrigo product contained the

penetration enhancer isopropyl myristate, the only penetration enhancer claimed in the ‘894

patent. Instead of isopropyl myristate, Teva used isopropyl palmitate and Perrigo used isostearic

acid. Unimed and Besins obtained the ‘894 patent only by narrowing the initial broad claim in

their patent application covering all penetration enhancers to a very limited claim covering only a

single penetration enhancer, isopropyl myristate, at a particular concentration.

       77.     The purpose of prosecution history estoppel is to protect competitors of the

patentee from liability for patent infringement under the doctrine of equivalents if the prosecution

history shows that a potential equivalent not specifically disclosed in the patent has been

purposely and not tangentially excluded from the scope of the patent. That is exactly what

occurred here. AbbVie and Besins purposely excluded all penetration enhancers other than


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isopropyl myristate during prosecution in order to convince the patent examiner to issue the

patent. AbbVie and Besins could not purposely surrender claims to all penetration enhancers

except one in order to obtain the patent in the first instance and then claim infringement when a

competitor used an enhancer that they had deliberately surrendered. No reasonable litigant in

Defendants’ position could have realistically expected to prevail on the merits of their patent

infringement claims against Teva and Perrigo.

        78.    The patent litigation against Teva and Perrigo was also subjectively baseless.

Defendants AbbVie and Besins had actual knowledge that the patent infringement suits were

baseless and destined to fail. They filed those suits only for the purpose of delaying Teva’s and

Perrigo’s entry into the market as competitors, not with any expectation of actually winning either

case.

        79.    As noted above, Solvay issued a press release in 2009 announcing the company’s

decision not to sue Perrigo for infringement of the ‘894 patent because the Perrigo product

“contain[ed] a different formulation than the formulation protected by the AndroGel patent.”

Besins also decided to “stand down” from pursuing an infringement case. The facts supporting

both companies’ decision not to pursue Perrigo for infringement did not change between 2009

and 2011, when the companies changed their minds and filed suit.

        80.    The individuals who made the decision on AbbVie’s behalf to file objectively

baseless lawsuits against Teva and Perrigo were four highly experienced patent attorneys who

had sign-off from AbbVie’s general counsel. Besins’ decision to sue was likewise made by an

experienced patent attorney. No business people were involved in either decision. The decision-

makers at both companies were aware of the paragraph IV notices sent by Teva and Perrigo,

which identified the penetration enhancers used by Teva and Perrigo and made it clear that those

products did not contain the single penetration enhancer claimed in the ‘894 patent. Outside


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counsel for AbbVie and Besins had access to the section 505(b)(2) NDAs and were able to

confirm the representations made in the paragraph IV notices. The paragraph IV notices also

described the doctrine of prosecution history estoppel and the Perrigo notice explicitly asserted

that any infringement suit against it would be a sham.

       81.     As experienced patent attorneys, the decision-makers at both companies were

subjectively aware that neither the Perrigo product nor the Teva product literally infringed the

‘894 patent, that the only possible means of proving infringement was the doctrine of

equivalents, and that AbbVie and Besins could not possibly invoke the doctrine of equivalents in

light of the prosecution history of the patent. These experienced patent attorneys could not

possibly have overlooked the objective baselessness of the litigation. The baselessness of the

litigation, in combination with the experience of the decision-makers and the facts known to

them, are strong circumstantial evidence of their subjective intent.

       82.     The decision-makers at AbbVie and Besins were also aware that AndroGel was a

blockbuster product, bringing in hundreds of millions of dollars in sales every year at very high

profit margins. They were aware that the entry of generic versions of AndroGel would

significantly erode these blockbuster profits. Their decision to file objectively baseless lawsuits

against their would-be generic competitors was based on a desire to staunch, at least for a time,

this imminent financial reversal. These decision-makers had no expectation of prevailing in

either case, but, under the regulatory scheme, merely filing the lawsuits was sufficient to delay

generic entry and thereby achieve the desired outcome.




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                   VI.     MARKET POWER AND MARKET DEFINITION

           83.   By filing sham litigation and delaying generic entry, Defendants were able to

maintain monopoly power in a relevant market consisting of the sale of TTRTs in the United

States.3

           84.   Transdermal testosterone replacement therapies, or topical testosterone

replacement therapies, are a relevant antitrust product market based on both reasonable

interchangeability and cross-elasticity of demand. There is little cross-elasticity of demand

between TTRTs and other testosterone replacement therapies, such as injectables. Injectables

have been on the market for many years and are available at a fraction of the cost of AndroGel

and other TTRTs, yet have not taken significant sales away from TTRTs. AbbVie has been able

to raise the price of AndroGel consistently and repeatedly while still increasing its sales.

           85.   Within the TTRT market, AndroGel enjoyed a 71.5% market share at the time the

first sham lawsuit against Teva was filed in April 2011, and a share of 63.6% at the time the

sham lawsuit against Perrigo was filed in October 2011. AndroGel’s market share remained

above 60% until the end of 2014, when Perrigo launched the first generic version of AndroGel

1%. AbbVie was able to maintain a profit margin of more than 65% during the relevant time

period, even after accounting for rebates. These market shares and margin figures are sufficient

to establish monopoly power.

           86.   Defendants’ monopoly power is further supported by the existence of significant

barriers to entry. Any prospective entrant into the TTRT market must invest large amounts of

time and capital in research and development. In addition, there are significant technical and


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              Plaintiffs believe and have alleged in other litigation that there is a narrower
relevant product market consisting of sales of AndroGel 1% and its AB-rated generic
equivalents. However, this Court has already determined that, even in the broader market of
TTRTs, AbbVie and Besins have monopoly power. See paragraph 94 infra.

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regulatory requirements in the pharmaceutical business that do not exist with respect to ordinary

consumer products. Branded drugs must be approved by the FDA through the submission of an

NDA, and approval of an NDA is a lengthy and expensive process.

       87.     Even after a branded drug is approved, brand-name drug companies face

significant barriers in attempting to convince physicians to prescribe the product, which typically

involves the use of a trained and knowledgeable sales force. The marketing of prescription drugs

is itself highly regulated. See generally 21 U.S.C. § 331. Sales representatives are not permitted

to claim that their company’s product is better or more effective than a competitor’s product, and

are not permitted to promote the drug for uses other than those approved by the FDA. The

Hatch-Waxman regulatory scheme itself creates barriers to entry in the form of the automatic 30-

month stay and other regulatory exclusivities, which are designed as incentives to branded and

generic manufacturers to invest time and effort in bringing drugs to market.

       88.     The relevant geographic market is the United States.

                               VII.    INTERSTATE COMMERCE

       89.     The drugs at issue in this case are sold in interstate commerce. Defendants’

unlawful activities, as alleged above, have occurred in, and have had a substantial impact on,

interstate commerce.

             VIII. EFFECT ON COMPETITION AND INJURY TO PLAINTIFFS

       90.     Defendants’ objectively and subjectively baseless patent litigation against Perrigo

and Teva had the purpose and effect of delaying the entry of generic versions of AndroGel 1%

and protecting branded AndroGel from generic competition. As a result of that conduct,

purchasers of the drug have been deprived of the benefits of the free and open competition that

the antitrust laws are intended to foster.




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       91.     But for Defendants’ unlawful monopolization, Perrigo would have launched an

AB-rated generic version of AndroGel 1% in June 2013 rather than on December 27, 2014, when

Perrigo actually launched. During the period from June 2013 through August 2017, Defendants

unlawfully obtained $448 million in profits that they would not otherwise have obtained if

Perrigo had launched its generic AndroGel 1% product in June 2013. Those ill-gotten gains were

obtained at the expense of purchasers of branded AndroGel 1% and AndroGel 1.62%, who would

otherwise have purchased Perrigo’s less expensive generic AndroGel 1%.

       92.     But for Defendants’ unlawful monopolization, beginning in June 2013, Plaintiffs

or their assignors would have purchased the lower-priced Perrigo generic in place of the higher-

priced branded AndroGel for a significant portion of their requirements of the drug. The

difference between what Plaintiffs (or their assignors) actually paid to acquire AndroGel and

what they would have paid but for Defendants’ antitrust violation constitute overcharges. These

overcharges are injury of the type the antitrust laws were designed to prevent and flow from that

which makes Defendants’ acts unlawful.

       93.     Plaintiffs have purchased and continue to purchase substantial amounts of

AndroGel. As a direct result of the illegal conduct alleged herein, Plaintiffs and their assignors

have paid prices for that drug that are substantially greater than the prices they would have paid

absent the illegal conduct alleged herein.

                                  IX.    PRIOR LITIGATION

       94.     The facts alleged in paragraphs 31 through 91 above have been found and

adjudicated by this Court in prior litigation entitled Federal Trade Comm’n v. AbbVie, Inc. et al.,

Civil Action No. 14-5151 (E.D. Pa. June 29, 2018) (the “FTC case”). See Doc. No. 439

(Findings of Fact and Conclusions of Law). Each Defendant herein was a defendant in the FTC

case and had a full and fair opportunity to litigate those facts, including a three-week nonjury


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trial before Judge Harvey Bartle III of this Court. Accordingly, each Defendant is collaterally

estopped to relitigate those facts.

          95.    The filing of the FTC case has tolled the statute of limitations applicable to

Plaintiffs’ claims from the date the case was filed (September 8, 2014) until today.

                                     X.     CLAIM FOR RELIEF

                                     VIOLATION OF 15 U.S.C. § 2
                                        MONOPOLIZATION

          96.    Plaintiffs incorporate by reference the allegations in paragraphs 1 through 95

above as though fully set forth herein.

          97.    At all relevant times, Defendants possessed monopoly power in the relevant

market.

          98.    Through their sham litigation against Perrigo and Teva, as set forth above,

Defendants have willfully maintained their monopoly power in the relevant market using

restrictive or exclusionary conduct, rather than by competing on the merits.

          99.    Defendants’ conduct has substantially harmed competition in the relevant market.

          100.   There is and was no cognizable procompetitive justification for Defendants’

actions.

          101.   As a direct and proximate result of Defendants’ monopolization, as alleged herein,

Plaintiffs have suffered injury to their business and property in the form of overcharges.

                               XI.        DEMAND FOR JUDGMENT

          WHEREFORE, Plaintiffs pray for judgment against Defendants and for the following

relief:

          A.     A declaration that the conduct alleged herein is in violation of Section 2 of the

Sherman Act;



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        B.        A permanent injunction enjoining Defendants from engaging in similar conduct in

the future, and requiring them to take affirmative steps to dissipate any continuing

anticompetitive effects of their conduct;

        C.        An award of Plaintiffs' overcharge damages, in an amount to be determined at

trial, trebled;

        D.        An award of Plaintiffs' costs of suit, including reasonable attorneys' fees as

provided by law; and

        E.        Such other and further relief as the Court deems just and proper.

                                        XII.    JURY DEMAND

                  Plaintiffs demand a trial by jury of all issues so triable.


Dated: August 17, 2018                            Respectfully submitted,

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                                                  Barry L. R sin
                                                  HANGLEY ARONCHICK SEGAL PUDLIN &
                                                  SCHILLER
                                                  One Logan Square, 27th Floor
                                                  Philadelphia, PA 19103
                                                  Tel.: (215) 568-6200
                                                  Email: brefsin@hangley.com

                                                  Attorneys for Plaintiffs

Of Counsel:

Richard Alan Arnold
Scott E. Perwin
Lauren C. Ravkind
Anna T. Neill
KENNY NACHWALTER P.A.
1441 Brickell Avenue
Four Seasons Tower, Suite 1100
Miami, FL 33131
Tel.: (305) 373-1000
Email: sperwin@knpa.com
Email: lravkind@knpa.com
Email: aneill@knpa.com

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